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                                  Exhibit N
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       1              IN THE UNITED STATES DISTRICT COURT
       2              FOR THE EASTERN DISTRICT OF VIRGINIA
       3                         ALEXANDRIA DIVISION
       4     ----------------------------x
       5     COALITION FOR TJ,                   :
       6                           Plaintiff, :
       7        v.                               :   Civil Action No.:
       8     FAIRFAX COUNTY SCHOOL               : 1:21-cv-00296-CMH-JFA
       9     BOARD,                              :
       10                          Defendant. :
       11    ----------------------------x
       12
       13                 Deposition of JEREMY SHUGHART
       14                          McLean, Virginia
       15                   Thursday, October 14, 2021
       16                              9:14 a.m.
       17
       18                            CONFIDENTIAL
       19
       20    Job No.: 403754
       21    Pages: 1 - 209
       22    Reported by: Judith E. Bellinger, RPR, CRR
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